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                  IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF OKLAHOMA

 BILL D. THOMAS,
      Plaintiff and Counter-defendant,

 v.

 OKLAHOMA LAND HOLDINGS, LLC,                         CAUSE NO. CIV-17-1036-D
 DANICK RESOURCES, INC.,
 SCHLACHTER OPERATING, CORP.,                                     Motion
 d/b/a SCHLACHTER OIL, and
 DOES 1 – 10,
        Defendants and Counter-plaintiffs
        and Third-party Plaintiffs

 v.

 BMR II, LLC, and
 ANDREW M. ASHBY,
     Third-party Defendants.


               UNOPPOSED MOTION TO MODIFY CASE STYLE

      Third-party plaintiff, Oklahoma Land Holding, LLC, files this motion asking the

Court to modify the style of this case, and would show this Court as follows:

                                           I.
                                         Motion

      1.     All claims asserted by the plaintiff Bill Thomas against the defendants have

been dismissed, and all counterclaims asserted against Bill Thomas by the OLH Parties

have been dismissed. (DN 63).


      2.     Danick Resources, Inc. and Schlachter Operating Corp. have moved the

Court to dismiss all claims asserted by these parties against BMR II, LLC and Andrew M.
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Ashby. Upon the dismissal of these claims, the sole remaining claims before this Court are

those asserted by Oklahoma Land Holdings, LLC against BMR II, LLC and Andrew M.

Ashby.

       3.     For this reason, the OLH parties, ask this Court to modify the style of this

case by order, so that the burdens and relationship of the parties are more accurately

presented in both the briefing and potential presentation of this case to a jury.


                                         PRAYER

       For these reasons, the OLH Parties ask this Court to enter an order affecting this

modification as follows: Oklahoma Land Holding, LLC v. BMR II, LLC and Andrew M.

Ashby.


                                      Respectfully Submitted,




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                                     Attorney for Third-party Defendants




                             CERTIFICATE OF SERVICE
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      I hereby certify that on Wednesday, May 23, 2019, I filed the foregoing with the

Clerk of Court using the ECF system which will send notification of such filing to the

following:

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